                 Case 20-13625-LMI          Doc 26    Filed 06/26/20      Page 1 of 1


                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov

In re:                                                 Case No.: 20-13625-LMI
                                                       Chapter 13
         Isabel C Meneses
                   Debtor(s)        /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

              IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                                TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:

Claim                                          Amount of
No.              Name of Claimant              Claim

2-1              Internal Revenue Service      $2,511.62

Basis for Objection and Recommended Disposition

On or about April 8, 2020, Creditor filed a proof of claim in the amount of $2,511.62 and the same
amount as a priority claim for purported liability for the 2018 tax year. The Debtor did not have
any additional income other than her Social Security payments and did not meet the threshold to
file. Therefore, the Debtor objects to any liability and seeks to strike and disallow the claim in full.

The undersigned acknowledges that this objection and the notice of hearing for this objection will
be served on the claimant and the debtor at least 14 days prior to the confirmation hearing date and
that a certificate of service conforming to Local Rule 2002-1(F) must be filed with the court when
the objection and notice of hearing are served.

DATED: June 26, 2020                                   Respectfully Submitted:
                                                       Robert Sanchez, P.A.
                                                       355 West 49th Street
                                                       Hialeah, FL 33012
                                                       Fl. Bar No. 0442161
                                                       Telephone: (305) 687-8008
                                                       E-Mail: court@bankruptcyclinic.com




LF-70 (rev. 12/01/09)
